     Case 2:05-cr-00440-RLH-VCF             Document 83      Filed 06/19/07      Page 1 of 1




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 3
                              UNITED STATES DISTRICT COURT
 4
                                       DISTRICT OF NEVADA
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                                                    ***
 6
     UNITED STATES OF AMERICA,           )
 7                                       )
                       Plaintiff,        )                       2:05-CR-0440-RLH-LRL
 8                                       )
           vs.                           )                            ORDER
 9                                       )
     DONALD M. DAVIDSON,                 )
10                                       )
                       Defendant.        )
11   ____________________________________)

12
                    Before this Court is the Report and Recommendation (#70, filed June 6, 2007) of
13
     United States Magistrate Judge Lawrence R. Leavitt, regarding Defendant’s Motion to Dismiss
14
     Superseding and Second Superseding Indictments (#50). Objections (#77) were filed to Magistrate
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     Judge Leavitt’s Report and Recommendation in accordance with Local Rule IB 3-2 of the Rules of
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     Practice of the United States District Court for the District of Nevada. The Government has filed an
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     Opposition (#81) thereto, and the matter was submitted for consideration.
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                    The court has conducted a de novo review of the record in this case in accordance
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     with 28 U.S.C. §636(b)(1)(B) and (C) and Local Rule IB 3-2 and determines that the Report and
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     Recommendation of Magistrate Judge Leavitt should be accepted and adopted.
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                    IT IS THEREFORE ORDERED that Magistrate Judge’s Report and Recommenda-
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     tion (#70, entered June 6, 2007) is AFFIRMED and ADOPTED, Defendant Davidson’s Motion to
23
     Dismiss Superseding and Second Superseding Indictments (#50) is denied.
24
                    Dated: June 19, 2007.
25
                                                         _________________________________
26                                                       ROGER L. HUNT
                                                         Chief U.S. District Judge
